Case 1:18-cV-06664-R.]S Document 11 Filed 08/22/18 Page 1 of 2

UNlTED STATES DlSTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Plaintiffj KpZ/l‘

-v_ No. lS-cv-6664 (RJS)
M

 

MICl-IAEL UNDERWOOD,

TAFSC HOUSING DEVELOPMENT
FUND CORPORATION, et al. ,

Defendants.

 

 

RlCHARD J. SULLIVAN, District Judge:

Plaintiff instituted this action on .luly 25, 2018 against five defendants: (l) TAFSC
Housing Development Fund Corporation (“TAFSC”), (2) The Third Avenue Family Service
Center, lnc. ("Third Avenue”), (3) Linda Washington (the executive director of TAFSC), (4) the
City of New York (the "`City”), and (5) the New York State Homeless Housirig and Assistance
Corporation (“NYSl-Il-IAC”). (Doc. No. l.) On August l7, 2018, the Court entered an order
extending the deadline to answer or otherwise respond to the complaint for TAFSC, Third Avenue,
and NYSHHAC - the defendants as to which certificates of service had been filed on the Court’s
electronic docket. (Doc. No. 8.)

The Court is now in receipt of a certificate of service indicating that the City was served
with the summons and a copy of the complaint on August 2, 2018. (Doc. No. 9.) Pursuant to
Federal Rule of Civil Procedure lZ(a)( l )(A)(i), the City’s deadline to answer or otherwise respond
to the complaint is currently August 23, 2018. The Court is also in receipt of a letter from the City
requesting that its deadline to answer or otherwise respond to the complaint be extended to October
5, 2018, giving the City sixty-four days to answer or otherwise respond to the complaint (Doc.

No. lO). The City’s letter indicates that Plaintit`t` consents to an extension ot`the City’s deadline to

Case 1:18-cV-06664-R.]S Document 11 Filed 08/22/18 Page 2 of 2

September 6, 2018, but that Plaintiff opposes the City’s request to extend the deadline until
October 5, 2018.

ln light of the City’s upcoming deadline to answer or otherwise respond to the complaint
and in the interests of maintaining a uniform schedule in this action, IT IS HEREBY ORDERED
that the City`s deadline to answer or otherwise respond to the Complaint is extended to September
6, 2018. lT lS FURTHER ORDERED that Plaintiffshall file a letter no later than August 27, 2018
responding to the City’s extension request and explaining why Plaintiff does not consent to extend
the deadline for all parties to answer or otherwise respond to the complaint until October 5, 201 S,
particularly in light of the fact that it appears that Plaintiff has not even served the remaining
Defendant, Linda Washington.

If Plaintiff has effected service on Defendant Washington, and if Defendant Washington’s
deadline to answer or otherwise respond to the complaint (as determined by Federal Rule of Civil
Procedure lZ(a)(l)(A)(l)) is before Septernber 6, 2018, IT lS FURTHER ORDERED that
Defendant Washington’s deadline to answer or otherwise respond to the complaint is extended to
September 6, 2018. lf Plaintiff has not yet served Defendant Washington_, IT IS FURTHER
ORDERED that Plaintiff shall promptly file the certificate of service when he has effected service.
SO ORDERED.

Dated: August 22, 2018

New York_, New York )/€\FM

RICHARD lt SULLIVAN
UNITED STATES DISTRICT JUDGE

 

